Case 20-12814-mkn            Doc 603    Entered 07/31/20 13:53:33     Page 1 of 29




BRETT A. AXELROD, ESQ.
                                                              Electronically Filed July 31, 2020
Nevada Bar No. 5859
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Counsel for the Debtors

                             UNITED STATES BANKRUPTCY COURT

                                       DISTRICT OF NEVADA
In re                                                  Case No. BK-S-20-12814-mkn

        RED ROSE, INC.,                                Jointly Administered with
                                                       Case No. BK-S-20-12815-mkn
        RED ROSE, INC.,                                Case No. BK-S-20-12816-mkn
          Affects Beachhead Roofing and Supply,        Case No. BK-S-20-12818-mkn
           Inc.
                                                       Case No. BK-S-20-12819-mkn
          Affects California Equipment Leasing
           Association, Inc.                           Case No. BK-S-20-12820-mkn
          Affects Fences 4 America, Inc.               Case No. BK-S-20-12821-mkn
          Affects James Petersen Industries, Inc.      Case No. BK-S-20-12822-mkn
          Affects PD Solar, Inc.                       Case No. BK-S-20-12823-mkn
          Affects Petersen Roofing and Solar LLC       Case No. BK-S-20-12824-mkn
          Affects Petersen-Dean, Inc.                  Case No. BK-S-20-12825-mkn
          Affects PetersenDean Hawaii LLC              Case No. BK-S-20-12826-mkn
          Affects PetersenDean Roofing and Solar       Case No. BK-S-20-12827-mkn
           Systems, Inc.                               Case No. BK-S-20-12829-mkn
          Affects PetersenDean Texas, Inc.
          Affects Red Rose, Inc.
                                                       Case No. BK-S-20-12831-mkn
          Affects Roofs 4 America, Inc.                Case No. BK-S-20-12833-mkn
          Affects Solar 4 America, Inc.
          Affects Sonoma Roofing Services, Inc.        Chapter 11
          Affects TD Venture Fund, LLC
          Affects Tri-Valley Supply, Inc.              NOTICE OF ENTRY OF ORDER
          Affects All Debtors




         PLEASE TAKE NOTICE that on the 31st day of July 2020, the Court entered the

following Order:

                   Final Order (I) Authorizing The Use Of Cash Collateral Pursuant To
                   Section 363 Of The Bankruptcy Code, (II) Granting Adequate Protection
                   Pursuant To Sections 361, 362, And 363 Of The Bankruptcy Code, (III)
                   Granting Liens And Superpriority Claims, And (IV) Modifying The

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                                            Case 20-12814-mkn            Doc 603    Entered 07/31/20 13:53:33       Page 2 of 29




                                                               Automatic Stay, And (V) Scheduling A Final Hearing [ECF No. 601].
                                        1
                                                    A copy of the above-referenced order is attached hereto.
                                        2
                                                    Dated this 31st day of July 2020.
                                        3

                                        4                                               FOX ROTHSCHILD LLP

                                        5                                               By: /s/Brett A. Axelrod
                                                                                            BRETT A. AXELROD, ESQ.
                                        6                                                   Nevada Bar No. 5859
                                                                                            1980 Festival Plaza Drive, Suite 700
                                        7                                                   Las Vegas, Nevada 89135
                                                                                        Counsel for Debtors
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                                                 Case 20-12814-mkn          Doc 603
                                                                                601     Entered 07/31/20 13:53:33
                                                                                                         12:13:08        Page 3
                                                                                                                              1 of 29
                                                                                                                                   24




                                       IT IS1 FURTHER ORDERED that to avoid
                                       immediate and irreparable harm, Local Rule
                                            2 is waived.
                                       9021(b)

                                          3

                                         4    Entered on Docket
                                       ___________________________________________________________________
                                           July 31, 2020
                                          5

                                          6     BRETT A. AXELROD, ESQ.
                                                Nevada Bar No. 5859
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                                                Email: baxelrod@foxrothschild.com
                                         10     Counsel for Borrowing Debtors

                                         11                                  UNITED STATES BANKRUPTCY COURT
                                                                                    DISTRICT OF NEVADA
1980 Festival Plaza Drive, Suite 700




                                         12     In re                                               Case No. BK-20-12814-mkn
    Las Vegas, Nevada 89135
     FOX ROTHSCHILD LLP




                                                        RED ROSE, INC.,                             Jointly Administered with
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                                         13               Affects Beachhead Roofing and Supply,     Case No. BK-S-20-12815-mkn
                                                           Inc.                                     Case No. BK-S-20-12816-mkn
                                         14               Affects California Equipment Leasing      Case No. BK-S-20-12818-mkn
                                                           Association, Inc.                        Case No. BK-S-20-12819-mkn
                                         15               Affects Fences 4 America, Inc.            Case No. BK-S-20-12820-mkn
                                                          Affects James Petersen Industries, Inc.   Case No. BK-S-20-12821-mkn
                                         16               Affects PD Solar, Inc.                    Case No. BK-S-20-12822-mkn
                                                          Affects Petersen Roofing and Solar LLC    Case No. BK-S-20-12823-mkn
                                         17               Affects Petersen-Dean, Inc.               Case No. BK-S-20-12824-mkn
                                                          Affects PetersenDean Hawaii LLC           Case No. BK-S-20-12825-mkn
                                         18               Affects PetersenDean Roofing and Solar    Case No. BK-S-20-12826-mkn
                                         19                Systems, Inc.                            Case No. BK-S-20-12827-mkn
                                                          Affects PetersenDean Texas, Inc.          Case No. BK-S-20-12829-mkn
                                         20               Affects Red Rose, Inc.                    Case No. BK-S-20-12831-mkn
                                                          Affects Roofs 4 America, Inc.             Case No. BK-S-20-12833-mkn
                                         21               Affects Solar 4 America, Inc.
                                                                                                    Chapter 11
                                                          Affects Sonoma Roofing Services, Inc.
                                         22               Affects TD Venture Fund, LLC              FINAL ORDER (I) AUTHORIZING THE USE
                                                          Affects Tri-Valley Supply, Inc.           OF CASH COLLATERAL PURSUANT TO
                                         23               Affects All Debtors                       SECTION 363 OF THE BANKRUPTCY CODE,
                                                                                                    (II) GRANTING ADEQUATE PROTECTION
                                         24                                                         PURSUANT TO SECTIONS 361, 362, AND 363
                                                                                                    OF THE BANKRUPTCY CODE,
                                         25                                                         (III) GRANTING LIENS AND
                                                                                                    SUPERPRIORITY CLAIMS, AND (IV)
                                         26                                                         MODIFYING THE AUTOMATIC STAY, AND
                                                                                                    (V) SCHEDULING A FINAL HEARING
                                         27
                                                                                                    Hearing Date: July 29, 2020
                                         28                                                         Hearing Time: 10:30 a.m.
                                                                                                    1
                                                Active\112812251
                                            Case 20-12814-mkn              Doc 603
                                                                               601       Entered 07/31/20 13:53:33
                                                                                                          12:13:08                Page 4
                                                                                                                                       2 of 29
                                                                                                                                            24




                                        1           The Court, having reviewed and considered those certain Motions for Interim and Final Orders

                                        2   Pursuant to 11 U.S.C. §§ 361, 362, 363, and 552 and Fed. R. Bankr. P. 4001(b) and 4001(d): (I)

                                        3   Determining Extent of Cash Collateral; (II) Authorizing Borrowing Debtors to Use Cash and Provide

                                        4   Adequate Protection; (III) Granting Related Relief; and (IV) Scheduling Final Hearing filed in the

                                        5   above-captioned bankruptcy cases             (collectively, the “Motion”)         1
                                                                                                                                  filed by each of California

                                        6   Equipment Leasing Association, Inc.; Fences4America, Inc.;, PD Solar, Inc.; Petersen-Dean, Inc.;

                                        7   PetersenDean Hawaii LLC; PetersenDean Roofing and Solar Systems, Inc.; PetersenDean Texas, Inc.;

                                        8   Red Rose, Inc.; Roofs4America, Inc.; Solar4America, Inc.; Sonoma Roofing Services, Inc.; and Tri-

                                        9   Valley Supply, Inc. (each such Debtor the “Borrowing Debtor” with respect to its own chapter 11 case

                                       10   “Chapter 11 Case”) and collectively, the “Borrowing Debtors”), in their collective chapter 11 cases

                                       11   (“Chapter 11 Cases”) requesting entry of an interim order (the “Interim Order”) and a final order (the
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                                       12   “Final Order”) pursuant to sections 361, 362, 363, 503 and 507 of title 11 of the United States Code,
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                                            §§ 101 et. seq. (the “Bankruptcy Code”), Rules 2002, 4001(b) and 4001(d) of the Federal Rules of
          (702) 262-6899




                                       13

                                       14   Bankruptcy Procedure (the “Bankruptcy Rules”), and Rules 4001(b) and 4001(c) of the Local Rules

                                       15   for the U.S. Bankruptcy Court, District of Nevada (“Local Rules”) among other things authorizing

                                       16   and approving Borrowing Debtors' use of the cash collateral as defined in the Bankruptcy Code (“Pre-

                                       17   Petition Lender’s Cash Collateral”) of ACF Finco I LP (the “Pre-Petition Lender”); and it appearing

                                       18   that the final relief provided herein is in the best interests of Borrowing Debtors’ estates, their creditors
                                       19   and all other parties in interest; and the Court having jurisdiction to consider the Motion and the relief

                                       20   requested therein pursuant to 28 U.S.C. §§ 157 and 1334; and consideration of the Motion and the

                                       21   relief requested therein being a core proceeding pursuant to 28 U.S.C. § 157(b); and venue being

                                       22   proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and the Court having reviewed and

                                       23

                                       24   1
                                              Capitalized terms not defined herein shall have the meanings ascribed to them in the Secured Creditor ACF FinCo I,
                                            LP’s Initial Opposition to Emergency First Day Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 361, 362,
                                       25   363, 552 and Fed. R. Bankr. P. 4001(b) and 4001(d): (i) Determining Extent of Cash Collateral; (ii) Authorizing
                                            Borrowing Debtors to Use Cash Collateral and Provide Adequate Protection; (iii) Granting Related Relief; and (iv)
                                       26   Scheduling Final Hearing or the Declaration of Andres Pinter in Support of Secured Creditor ACF FinCo I, LP’s Initial
                                            Opposition to Emergency First Day Motion for Interim and Final Orders Pursuant to 11 U.S.C. §§ 361, 362, 363, 552
                                       27   and Fed. R. Bankr. P. 4001(b) and 4001(d): (i) Determining Extent of Cash Collateral; (ii) Authorizing Borrowing
                                            Debtors to Use Cash Collateral and Provide Adequate Protection; (iii) Granting Related Relief; and (iv) Scheduling Final
                                       28   Hearing.
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                                            Active\112812251
                                            Case 20-12814-mkn             Doc 603
                                                                              601     Entered 07/31/20 13:53:33
                                                                                                       12:13:08       Page 5
                                                                                                                           3 of 29
                                                                                                                                24




                                        1   considered all other pleadings and evidence submitted by the parties in connection with the Motion;

                                        2   and due and proper notice of the Motion having been provided; and it appearing that no other or

                                        3   further notice need be provided; and the Court having determined that the legal and factual grounds

                                        4   set forth in the Motion establish just cause for the relief granted herein; and the Court having

                                        5   considered the oral arguments of counsel at the hearings held on June 17, 2020 and July 29, 2020; and

                                        6   the Court having made findings of fact and conclusions of law on the record, which (to the extent not

                                        7   expressly set forth below) are incorporated herein pursuant to Rule 52 of the Federal Rules of Civil

                                        8   Procedure, made applicable to these proceedings by Bankruptcy Rule 7052; and good and sufficient

                                        9   cause appearing therefor,

                                       10           IT IS HEREBY FOUND, ORDERED, ADJUDGED AND DECREED that:

                                       11           A.         Pursuant to that certain Loan and Security Agreement (the “Loan Agreement”), dated
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                                       12   June 29, 2017, the Pre-Petition Lender extended loans to Borrowing Debtors under a revolving credit
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                                            facility at an aggregate principal sum of no greater than $30MM (the “Revolving Credit Note”).
          (702) 262-6899




                                       13

                                       14           B.         The Loan Agreement, among other things, granted the Pre-Petition Lender a security

                                       15   interest in all of Borrowing Debtors’ personal property wherever located and whether owned on the

                                       16   Effective Date of the Loan Agreement or thereafter acquired in order to secure Borrowing Debtors’

                                       17   obligations under the Loan Agreement (the “Pre-Petition Collateral”), including, but not limited to

                                       18   (and specifically including all accessions to, substitutions for and all replacements, products and cash
                                       19   and non-cash proceeds of all of the following): all cash, Money (as defined in Section 1-201(24) of

                                       20   the UCC), Accessions, Accounts (including without limitation all Receivables and unearned

                                       21   premiums with respect to insurance policies insuring any of the Collateral and claims against any

                                       22   Person for loss of, damage to, or destruction of any or all of the Collateral), Certificates of Title,

                                       23   Chattel Paper, Commercial Tort Claims, Deposit Accounts, Documents, Equipment, General

                                       24   Intangibles, Goods, Instruments, Inventory, Investment Property, Letter-Of- Credit Rights, and

                                       25   Proceeds.

                                       26           C.         Borrowing Debtors’ obligations to the Pre-Petition Lender are further secured by that
                                       27   certain Collection Account Agreement, dated June 16, 2017, entered into between Borrowing Debtor

                                       28   Petersen-Dean, Inc., the Pre-Petition Lender and Wells Fargo Bank, National Association (the
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                                            Active\112812251
                                            Case 20-12814-mkn             Doc 603
                                                                              601     Entered 07/31/20 13:53:33
                                                                                                       12:13:08         Page 6
                                                                                                                             4 of 29
                                                                                                                                  24




                                        1   “Bank”), which sets forth certain rights and obligations of the parties thereto with respect to the

                                        2   deposit account of Pre-Petition Lender at the Bank (“Collection Account”), the Lockboxes and

                                        3   Remittances (as those terms are defined therein).

                                        4           D.         In addition, the Borrowing Debtors’ obligations to the Pre-Petition Lender under or

                                        5   relating to the Revolving Credit Note are secured, or guaranteed as applicable, by the following: (a)

                                        6   Stock Pledge Agreement; (b) Collateral Pledge & Security Agreement; (c) Amended and Restated

                                        7   Continuing Guaranty; (d) Continuing Guaranty; (e) Truckee Deed of Trust; (f) Aptos Deed of Trust;

                                        8   and (g) Hawaii Mortgage (collectively, and together with the Loan Agreement, Revolving Credit Note

                                        9   and all other loan documents related thereto, the “Pre-Petition Loan Documents”).

                                       10           E.         The Pre-Petition Lender’s security interests in the Pre-Petition Collateral are properly

                                       11   perfected.
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                                       12           F.         A first amendment to the Loan Agreement (the “First Amendment”) was executed on
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                                       13   June 22, 2018, which, among other things, modified the revolving credit rate and the revolving credit

                                       14   termination date, permitted total liquidity to be below $5,000,000, and waived the Borrowing Debtors’

                                       15   default.

                                       16           G.         A second amendment to the Loan Agreement (the “Second Amendment”) was

                                       17   executed on November 21, 2018 that, among other things, increased the credit limit to $35,000,000,

                                       18   and included a waiver of the Borrowing Debtors’ default.
                                       19           H.         On November 21, 2018, as a condition precedent to the effectiveness of the Second

                                       20   Amendment, the Pre-Petition Lender and Petersendean Hawaii LLC (“PD Hawaii”) executed that

                                       21   certain Joinder to Loan Documents (the “Joinder”) under which PD Hawaii acknowledged and agreed

                                       22   that it joined in the execution of, and becomes a party to the Loan Agreement, each of the other Pre-

                                       23   Petition Loan Documents, including without limitation the Revolving Note, First Amendment, and

                                       24   Second Amendment, and assumed and agreed to perform all applicable duties and obligation of

                                       25   Borrowing Debtors under the Loan Agreement and the other Pre-Petition Loan Documents, and

                                       26   pledged to the Pre-Petition Lender, and granted to the Pre-Petition Lender a continuing general lien
                                       27   upon and security interest in and to the Pre-Petition Collateral.

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                                            Active\112812251
                                            Case 20-12814-mkn            Doc 603
                                                                             601     Entered 07/31/20 13:53:33
                                                                                                      12:13:08        Page 7
                                                                                                                           5 of 29
                                                                                                                                24




                                        1           I.         A third amendment to the Loan Agreement (the “Third Amendment”) was executed

                                        2   on October 9, 2019 that, among other things, amended the default rate and modified permitted

                                        3   investments, indebtedness, and eligible receivables, and permitted total liquidity to be below $500,000

                                        4   before ballooning back to $5,000,000.

                                        5           J.         A fourth amendment to the Loan Agreement (the “Fourth Amendment”) was executed

                                        6   on January 22, 2020 providing, among other things, a forbearance default period through May 22,

                                        7   2020, modifying permitted indebtedness, liens, and payments, and providing for potential sale of

                                        8   equity interest.

                                        9           K.         By way of the Fourth Amendment, the Borrowing Debtors and the Guarantors

                                       10   acknowledged and agreed that all of the obligations under the Pre-Petition Loan Documents (including

                                       11   the Guaranties) owing to Pre-Petition Lender are valid and enforceable and reaffirmed the Pre-Petition
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                                       12   Lender’s liens, security interests, obligations and guaranties.
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                                       13           L.         As of the June 11, 2020, the amount outstanding under the Revolving Credit Note was

                                       14   approximately $28,543,854 excluding legal fees (the “Pre-Petition Obligations”).

                                       15           M.         On June 12, 2020 (the “Petition Date”), each of the Borrowing Debtors commenced

                                       16   their bankruptcy cases by filing voluntary petitions for relief under chapter 11 of the Bankruptcy Code.

                                       17   Borrowing Debtors continue to operate their businesses as debtors-in-possession pursuant to

                                       18   Bankruptcy Code sections 1107(a) and 1108. No trustee, examiner, or statutory committee
                                       19   (“Committee”) has been appointed in these cases.

                                       20           N.         On October 30, 2019, the Director of the Department of Industrial Relations for the

                                       21   State of California (the “Director”) delivered a demand for the Debtor Petersen Dean, Inc. to post

                                       22   additional collateral in connection with its participation in the Alternative Securities Program for self-

                                       23   insurance of Workers Compensation Obligations in California. The position of the California Self

                                       24   Insurer’s Security Fund (“CSISF”), which administers the program, is that the issuance of that notice,

                                       25   pursuant to the applicable statutes, resulted in a lien in the amount of $965,941.00 on all of the assets

                                       26   of the Debtor Petersen Dean, Inc.
                                       27           O.         Borrowing Debtors have complied with the requirements of Bankruptcy Rules 2002,

                                       28   4001(b), and 4001(d), and Local Rules 4001(b), 4001(c) and 9006, requiring, among other things, that
                                                                                             5
                                            Active\112812251
                                            Case 20-12814-mkn             Doc 603
                                                                              601      Entered 07/31/20 13:53:33
                                                                                                        12:13:08         Page 8
                                                                                                                              6 of 29
                                                                                                                                   24




                                        1   a hearing on the Motion (“Hearing”) held on less than fourteen (14) calendar days be noticed by

                                        2   serving the Motion and providing notice of the Hearing by facsimile or overnight mail to: (i) the

                                        3   Office of the United States Trustee for the District of Nevada; (ii) counsel to the Pre-Petition Lender;

                                        4   (iii) counsel for any committee appointed in these cases, and if no committee was appointed, then to

                                        5   all parties listed on each Borrowing Debtors’ List of Creditors Holding the 20 Largest Unsecured

                                        6   Claims; and (iv) all other parties requesting notice pursuant to Bankruptcy Rule 2002. Given the

                                        7   nature of the relief sought in the Motion, the Court concludes that the foregoing notice was sufficient

                                        8   and adequate under the circumstances and complies with Bankruptcy Rule 4001 in all respects.

                                        9           P.         The Borrowing Debtors have an immediate and critical need to use Pre-Petition

                                       10   Lender’s Cash Collateral in order to, among other things, enable the orderly continuation of their

                                       11   operations and to administer and preserve the value of their estates. The ability of the Borrowing
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                                       12   Debtors to maintain business relationships with their vendors, suppliers and customers, to pay their
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                                            employees and otherwise finance their operations requires the use of Pre-Petition Lender’s Cash
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                                       13

                                       14   Collateral, the absence of which would immediately and irreparably harm the Borrowing Debtors,

                                       15   their estates, and parties-in-interest. The Borrowing Debtors do not have sufficient available sources

                                       16   of working capital and financing to operate their businesses or maintain their properties in the ordinary

                                       17   course of business without the authorized use of Pre-Petition Lender’s Cash Collateral.

                                       18           Q.         Good cause has been shown for immediate entry of this Final Order pursuant to
                                       19   Bankruptcy Rules 4001(b)(2) and 4001(d), and, to the extent it applies, Bankruptcy Rule 6003, as the

                                       20   Court finds that entry of this Final Order is necessary to avoid immediate and irreparable harm to

                                       21   Borrowing Debtors and their estates.

                                       22           R.         Entry of this Final Order is in the best interests of Borrowing Debtors, their estates and

                                       23   creditors.

                                       24           S.         Based on the foregoing, and upon the record made before this Court at the Hearing,

                                       25   and good and sufficient cause appearing therefor:

                                       26           IT IS ORDERED that:
                                       27           1.         The Motion is granted on a final basis and on the terms and conditions set forth in this

                                       28   Final Order. This Final Order shall become effective immediately upon its entry.
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                                            Active\112812251
                                            Case 20-12814-mkn             Doc 603
                                                                              601     Entered 07/31/20 13:53:33
                                                                                                       12:13:08        Page 9
                                                                                                                            7 of 29
                                                                                                                                 24




                                        1           2.         From the Petition Date through August 30, 2020[ ], the Borrowing Debtors shall be

                                        2   permitted to use the Pre-Petition Lender’s Cash Collateral subject to the terms and conditions of this

                                        3   Final Order and the budget attached hereto as Exhibit 1 (“Approved Budget”). The Borrowing

                                        4   Debtors shall have no right to use the Pre-Petition Lender’s Cash Collateral after the occurrence and

                                        5   during the continuance of any Event of Default (as hereinafter defined).

                                        6           3.         Borrowing Debtors shall abide by the terms of the Loan Agreement, and cause all of

                                        7   the Pre-Petition Lender’s Cash Collateral and post-petition receivables to be deposited into the

                                        8   Collection Account or delivered to one or more post office lockboxes maintained for Lender by Bank

                                        9   (each a "Lockbox").

                                       10           4.         Borrowing Debtors shall be in, and operate within, strict compliance with the

                                       11   Approved Budget. Borrowing Debtors shall be deemed to be in such strict compliance with the
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                                       12   Approved Budget as to receipts and disbursements only if and for so long as (i) Borrowing Debtors’
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                                       13   actual cash receipts for each weekly period set forth in the Approved Budget are no less than ninety

                                       14   percent (90%) of the budgeted cash receipts for the same cumulative weekly period set forth in the

                                       15   Approved Budget, (ii) Borrowing Debtors’ actual expenditures for each line item on the Approved

                                       16   Budget for the cumulative weekly periods commencing at the end of the second weekly period set

                                       17   forth in the Approved Budget do not exceed one hundred fifteen (115%) of the budgeted expenditures

                                       18   for each line item on the Approved Budget for such cumulative weekly periods set forth in the
                                       19   Approved Budget, and (iii) no expenditures are made to or to or for the benefit of any affiliated non

                                       20   Borrowing Debtor. The Approved Budget may only be modified with the written consent of the Pre-

                                       21   Petition Lender and the Borrowing Debtors, without the need for Court approval

                                       22           5.         In furtherance of the foregoing and without further approval of this Court, each Debtor

                                       23   is authorized and empowered to perform all acts and to execute and deliver all instruments and

                                       24   documents that the Pre-Petition Lender determines to be reasonably required or necessary for such

                                       25   Debtor’s performance of its obligations hereunder.

                                       26           6.         No obligation, payment, transfer or grant of security by the Borrowing Debtors under
                                       27   this Final Order shall be voidable, avoidable, or recoverable under the Bankruptcy Code or under any

                                       28   applicable non-bankruptcy law (including under sections 502(d), 548, or 549 of the Bankruptcy Code
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                                            Case20-12814-mkn
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                                                                              07/31/2013:53:33
                                                                                       12:13:08 Page
                                                                                                Page10
                                                                                                     8 of
                                                                                                       of24
                                                                                                          29




                                        1   or under any applicable state Uniform Fraudulent Transfer Act, Uniform Fraudulent Conveyance Act,

                                        2   Uniform Voidable Transactions Act or similar statute or common law), or subject to any avoidance,

                                        3   reduction, setoff, recoupment, offset, recharacterization, subordination (whether equitable,

                                        4   contractual, or otherwise), counterclaim, cross-claim, defense, or any other challenge under the

                                        5   Bankruptcy Code or any applicable law or regulation by any person or entity.

                                        6           7.         Adequate Protection for the Pre-Petition Lender. As adequate protection under

                                        7   Bankruptcy Code sections 361, 362, 363, 507, and 552 for any diminution in the value (as it existed

                                        8   on the Petition Date) of Pre-Petition Lender’s interest in the Pre-Petition Collateral, including the Pre-

                                        9   Petition Lender’s Cash Collateral, in an amount equal to the aggregate diminution in value of its

                                       10   interests in the Pre-Petition Collateral, including any such diminution resulting from the sale, lease,

                                       11   encumbrance or use by the Borrowing Debtors (or other decline in value) of the Pre-Petition Lender’s
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                                       12   Cash Collateral and any other Pre-Petition Collateral during the Interim Period (meaning the period
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                                       13   from the entry of the Interim Order and this Final Order) and thereafter, subject to the Section 12(d)

                                       14   of the Interim Order (I) Authorizing Certain Debtors to (A) Obtain Post-Petition DIP Factoring

                                       15   Pursuant to 11 U.S.C. § 363 and 364; (2) Grant Priming Liens and Superiority Claims Pursuant to

                                       16   11 U.S.C. § 364, and (C) Sell Accounts Free and Clear; (II) Modifying the Automatic Stay; (III)

                                       17   Approving Notice; (IV) Scheduling a Final Hearing; and (V) Granting Related Relief (“Interim DIP

                                       18   Order”) and the corresponding provision in any final order of the Interim DIP Order, and the
                                       19   imposition of the automatic stay pursuant to section 362 of the Bankruptcy Code (such diminution in

                                       20   value, the “Adequate Protection Obligations”), the Pre-Petition Lender shall receive:

                                       21                      (a)   Adequate Protection Liens. As security for the payment of the Adequate

                                       22   Protection Obligations, the Pre-Petition Lender is hereby granted (effective and perfected as of the

                                       23   date of this Final Order and without the necessity of the execution by the Borrowing Debtors of

                                       24   security agreements, pledge agreements, mortgages, financing statements or other agreements) a

                                       25   valid, perfected security interest in and lien (the “Adequate Protection Liens”) on all Debtors’ personal

                                       26   property wherever located and whether owned on the Petition Date or thereafter acquired including
                                       27   all previously unencumbered property and post-petition accounts receivables, and further including,

                                       28   but not limited to (and specifically including all accessions to, substitutions for and all replacements,
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                                            Active\112812251
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                                                                              07/31/2013:53:33
                                                                                       12:13:08 Page
                                                                                                Page11
                                                                                                     9 of
                                                                                                       of24
                                                                                                          29




                                        1   products and cash and non-cash proceeds of all of the following): all cash, Money (as defined in

                                        2   Section 1-201(24) of the UCC), Accessions, Accounts (including without limitation all Receivables),

                                        3   Certificates of Title, Chattel Paper, Commercial Tort Claims, Deposit Accounts, Documents,

                                        4   Equipment, General Intangibles, Goods, Instruments, Inventory, Investment Property, Letter-Of-

                                        5   Credit Rights, Causes of Action and rights of Borrowing Debtors and their estates under Sections 542

                                        6   through 553 of the Bankruptcy Code and Proceeds of all of the foregoing. The Adequate Protection

                                        7   Liens shall have the same legality, validity, priority, perfection that the Pre-Petition Lender’s liens

                                        8   had on the Petition Date.

                                        9                      (b)   Adequate Protection Superiority Claims. The Adequate Protection Obligations

                                       10   shall constitute superpriority claims as provided in section 507(b) of the Bankruptcy Code (the

                                       11   “Adequate Protection Claims”) that will have a priority in payment over any and all other
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                                       12   administrative expenses of the kinds specified or ordered pursuant to any provision of the Bankruptcy
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                                       13   Code, including sections 105, 326, 328, 330, 331, 503(a), 503(b), 507(a), 506(c), 507(b), 546(c),

                                       14   546(d), 726, 1113 and 1114 of the Bankruptcy Code.

                                       15                      (c)   Adequate Protection Payments. As additional adequate protection to the Pre-

                                       16   Petition Lender, the Pre-Petition Lender is authorized to retain $35,000 each day the Bank is open to

                                       17   conduct regular banking business (“Business Day”) commencing on July 30, 2020 and continuing

                                       18   each Business Day thereafter to and including August 30, 2020 (the “Adequate Protection Payments”),
                                       19   from the Collection Account held at the Bank, and the automatic stay hereby is vacated and modified

                                       20   to the extent necessary to permit the Pre-Petition Lender to retain the Adequate Protection Payments

                                       21   from the Collection Account at the Bank and apply them against the Pre-Petition Obligations. For the

                                       22   avoidance of doubt, the payment of Adequate Protection Payments pursuant to this paragraph shall

                                       23   be without prejudice to the rights of the Pre-Petition Lender to assert claims for payment of additional

                                       24   interest at any other rates in accordance with the Pre-Petition Loan Documents.

                                       25                      (d)   Survival of Adequate Protection. Except as expressly provided in this Final

                                       26   Order, the Adequate Protection Liens, the Adequate Protection Claims, and all other rights and
                                       27   remedies of the Pre-Petition Lender granted by this Final Order shall survive, and shall not be

                                       28   modified, impaired or discharged by (a) the entry of an order converting any of the Chapter 11 Cases
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                                            Active\112812251
                                            Case 20-12814-mkn           Doc 603
                                                                            601    Entered 07/31/20 13:53:33
                                                                                                    12:13:08        Page 12
                                                                                                                         10 of 29
                                                                                                                               24




                                        1   to a case under chapter 7 of the Bankruptcy Code or dismissing any of the Chapter 11 Cases, or (b)

                                        2   the entry of an order confirming a plan of reorganization in any of the Chapter 11 Cases and, pursuant

                                        3   to section 1141(d)(4) of the Bankruptcy Code, the Borrowing Debtors’ waiver of discharge as to any

                                        4   remaining Adequate Protection Obligations. The terms and provisions of this Final Order shall

                                        5   continue in these Chapter 11 Cases and in any successor cases, and the Adequate Protection Liens,

                                        6   the Adequate Protection Obligations, the Adequate Protection Claims, and the other administrative

                                        7   claims granted pursuant to this Final Order, and all other rights and remedies of the Pre-Petition

                                        8   Lender granted by this Final Order shall continue in full force and effect until all Adequate Protection

                                        9   Obligations, if any, are indefeasibly paid in full in cash.

                                       10            8.        Independent Board Member: Borrowing Debtors’ governing board of directors is

                                       11   currently comprised of James P. Petersen, Tricia Yea Petersen, and independent director Ted Burr.
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                                       12   The Pre-Petition Lender, in its sole discretion, appointed Bradley Scher as an independent board
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                                            member (the “Independent Director”)to Borrowing Debtors’ board of directors. The expense for the
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                                       14   Pre-petition Lender’s Independent Director shall be included in the Approved Budget. The Pre-

                                       15   Petition Lender’s Independent Director shall be notified of and have the right to attend all meetings

                                       16   of directors and be given access to information provided to the other directors and books and records

                                       17   of the Borrowing Debtors. Mr. Scher’s service as Independent Director is a condition to the continued

                                       18   use of Pre-Petition Lender’s Cash Collateral.
                                       19            9.        Control of Cash and Reporting.     Borrowing Debtors’ financial advisor Conway

                                       20   MacKenzie Management Services, LLC (“Conway”) shall have sole control over and shall approve

                                       21   the disbursement of all Borrowing Debtors’ cash and transfers of cash or cash equivalents. Conway

                                       22   shall have exclusive control over all ACH and wire tokens for the Borrowing Debtors’ accounts.

                                       23   Conway shall inform itself as the identity and veracity of each vendor receiving a disbursement to

                                       24   ensure that such vendor is legitimately receiving an approved transfer and that the transfer is necessary

                                       25   for the continued operations of Debtors. Conway shall report in writing within twenty-four (24) hours

                                       26   of any discovery of any operational or accounting irregularities in the Debtor’s operations to all
                                       27   independent board members for immediate action. Such irregularities include, but are not limited to,

                                       28   Debtors failure to maintain its books and records in compliance with GAAP. Each Wednesday
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                                            Active\112812251
                                            Case 20-12814-mkn            Doc 603
                                                                             601     Entered 07/31/20 13:53:33
                                                                                                      12:13:08      Page 13
                                                                                                                         11 of 29
                                                                                                                               24




                                        1   commencing on the first Wednesday following the Hearing, Conway shall deliver a reconciliation

                                        2   report (“Reconciliation Report”) showing of actual cash receipts and expenditures as compared with

                                        3   budgeted receipts and expenditures in the Approved Budget for the preceding week to the Pre-Petition

                                        4   Lenders. The Reconciliation Report shall be certified as accurate by Conway and approved by

                                        5   independent director Ted Burr. Conway shall also provide the Pre-Petition Lenders with a report of

                                        6   Debtor’s post-petition accrual of unpaid post-petition expenses.

                                        7            10.       Access to Conway. The Pre-Petition Lender’s shall have the right to communicate with

                                        8   Conway regarding the Debtors’ financial situation and business operations, and Conway will provide

                                        9   the Pre-Petition Lenders requested information and operational information in a manner agreed to by

                                       10   the Borrowing Debtors and the Pre-Petition Lender or determined by further Court order.

                                       11            11.       Further Budgets.    As additional adequate protection, Conway shall prepare and
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                                       12   provide to the Pre-Petition Lender a budget (the “Wind-Down Budget”) for the “wind-down” of the
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                                       13   Borrowing Debtors’ operations, which Wind-Down Budget shall be created to maximize/optimize the

                                       14   recovery from the Pre-Petition Collateral, including the Pre-Petition Lender’s Cash Collateral, and

                                       15   which Wind-Down Budget shall be delivered not less than seven (7) calendar days following entry of

                                       16   this Final Order. The Wind-Down Budget shall be broken down to show revenue and disbursements

                                       17   on a by contract by contract (or job by job) basis.

                                       18            12.       Right to Seek Additional Adequate Protection. The Pre-Petition Lender may request
                                       19   further or different adequate protection or seek the allowance of adequate protection claims, and the

                                       20   Borrowing Debtors or any other party in interest may contest any such request (notwithstanding the

                                       21   terms of this Final Order).

                                       22            13.       Preservation of Rights. Other than the Adequate Protection Liens, the Adequate

                                       23   Protection Claims, the DIP Liens and any liens permitted pursuant to the Pre-Petition Loan

                                       24   Documents, no claim or lien having a priority senior to or pari passu with those granted by this Final

                                       25   Order to the Pre-Petition Lender shall be granted or allowed while any portion of the Adequate

                                       26   Protection Obligations remain outstanding, and the Adequate Protection Liens shall not be subject or
                                       27   junior to any lien or security interest that is avoided and preserved for the benefit of the Borrowing

                                       28   Debtors’ estates under section 551 of the Bankruptcy Code or subordinated to or made pari passu with
                                                                                             11
                                            Active\112812251
                                            Case 20-12814-mkn            Doc 603
                                                                             601     Entered 07/31/20 13:53:33
                                                                                                      12:13:08       Page 14
                                                                                                                          12 of 29
                                                                                                                                24




                                        1   any other lien or security interest, whether under section 364(d) of the Bankruptcy Code or otherwise.

                                        2            14.       Enforceability of Adequate Protection Obligations. If any or all of the provisions of

                                        3   this Final Order are hereafter reversed, modified, vacated or stayed, such reversal, stay, modification

                                        4   or vacatur shall not affect (a) the validity, priority or enforceability of any Adequate Protection

                                        5   Obligations incurred prior to the effective date of such reversal, stay, modification or vacatur or (b)

                                        6   the validity, priority or enforceability of the Adequate Protection Claims and Adequate Protection

                                        7   Liens. Notwithstanding any such reversal, stay, modification or vacatur, any use of the Pre-Petition

                                        8   Lender’s Cash Collateral, any Adequate Protection Obligations incurred by the Borrowing Debtors to

                                        9   the Pre-Petition Lender, as the case may be, prior to the effective date of such reversal, stay,

                                       10   modification or vacatur shall be governed in all respects by the original provisions of this Final Order,

                                       11   and the Pre-Petition Lender shall be entitled to all of the rights, remedies, privileges and benefits
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                                       12   granted in section 364(e) of the Bankruptcy Code, this Final Order, the Adequate Protection
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                                            Obligations and uses of the Pre-Petition Lender’s Cash Collateral.
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                                       13

                                       14            15.       Payments Free and Clear. Any and all payments or proceeds remitted to the Pre-

                                       15   Petition Lender pursuant to the provisions of the Final Order shall be received free and clear of any

                                       16   claim, charge, assessment or other liability.

                                       17            16.       Protection of Pre-Petition Lender’s Rights. Unless the Pre-Petition Lender shall have

                                       18   provided its prior written consent or all Adequate Protection Obligations have been indefeasibly paid
                                       19   in full in cash, there shall not be entered in any of these Chapter 11 Cases or any successor cases any

                                       20   order (including any order confirming any plan of reorganization or liquidation) that authorizes any

                                       21   of the following: (i) the use of the Pre-Petition Lender’s Cash Collateral for any purpose other than as

                                       22   permitted in this Final Order; (ii) the return of goods pursuant to section 546(h) of the Bankruptcy

                                       23   Code (or other return of goods on account of any prepetition indebtedness) to any creditor of any

                                       24   Debtor or any creditor’s taking any setoff against any of its prepetition indebtedness based upon any

                                       25   such return of goods pursuant to section 553 of the Bankruptcy Code or otherwise; or (iii) any

                                       26   modification of any of the Pre-Petition Lender’s rights under this Final Order or the Pre-Petition Loan
                                       27   Documents with respect any Prepetition Obligations.

                                       28   ///
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                                            Active\112812251
                                            Case 20-12814-mkn            Doc 603
                                                                             601     Entered 07/31/20 13:53:33
                                                                                                      12:13:08      Page 15
                                                                                                                         13 of 29
                                                                                                                               24




                                        1            17.       Preservation of Priorities of Mechanics’ Liens. No term in this Final Order shall be

                                        2   deemed or construed to change or otherwise modify the prepetition priorities of prepetition claims

                                        3   and pre and post-petition mechanics, materialmen, or supplier liens, stop payment notice claims,

                                        4   except as to purchased accounts under the DIP Factoring Agreement, or payment bond claims , of

                                        5   objecting creditors American Builders & Contractors Supply Co., Inc., D/B/A ABC Supply Co., Inc.

                                        6   (“ABC”) and Beacon Sales Acquisition, Inc. ( “Beacon”), Independent Electric Supply Inc. (“IES”),

                                        7   and OneSource Distributors, LLC (“OSD”), Silfab Solar USA, Inc. (“Silfab”) and Durable Structures,

                                        8   LTD (“Durable”) and collectively with ABC, Beacon, IES, OSD and Silfab, “Objecting Creditors”

                                        9   and such claims and liens, collectively, the “Objecting Creditors’ Claims and Liens”) to the extent the

                                       10   Objecting Claims and Liens are valid, enforceable, and non-avoidable and perfected (or may be

                                       11   perfected pursuant to applicable non-bankruptcy law), including as permitted by section 546(b) of the
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                                       12   Bankruptcy Code, and no term in this Final Order, including the granting of adequate protection liens,
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                                            shall be deemed to have changed or modified the Objecting Creditors’ Claims and Liens, all of which
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                                       13

                                       14   are hereby expressly preserved. All of Objecting Creditors’ rights to seek adequate protection and

                                       15   related relief in the future, are reserved. No term in this Final Order shall be deemed or construed to

                                       16   change or otherwise modify the rights of Objecting Creditors as to property which is not part of the

                                       17   within estate under section 541 of the Bankruptcy Code.

                                       18            18.       Rights Preserved. Notwithstanding anything herein to the contrary, the entry of this
                                       19   Final Order is without prejudice to, and does not constitute a waiver of, expressly or implicitly: (a)

                                       20   the Pre-Petition Lender’s right to seek any other or supplemental relief in respect of the Borrowing

                                       21   Debtors; (b) any of the rights of the Pre-Petition Lender’s under the Bankruptcy Code or under non-

                                       22   bankruptcy law, including, without limitation, the right, to (i) request modification of the automatic

                                       23   stay of section 362 of the Bankruptcy Code, (ii) request dismissal of any of the Chapter 11 Cases or

                                       24   successor cases, conversion of any of the Chapter 11 Cases to cases under Chapter 7, or appointment

                                       25   of a Chapter 11 trustee or examiner with expanded powers, or (iii) propose a chapter 11 plan or plans;

                                       26   or (c) any other rights, claims or privileges (whether legal, equitable or otherwise) of the Pre-Petition
                                       27   Lender. To the extent not inconsistent with the terms of this Final Order, the entry of this Final Order

                                       28   is without prejudice to, and does not constitute a waiver of, expressly or implicitly: (a) the Borrowing
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                                            Active\112812251
                                            Case 20-12814-mkn            Doc 603
                                                                             601     Entered 07/31/20 13:53:33
                                                                                                      12:13:08        Page 16
                                                                                                                           14 of 29
                                                                                                                                 24




                                        1   Debtors’ rights to seek any other or supplemental relief in respect of the Pre-Petition Lender; (b) any

                                        2   of the rights of the Borrowing Debtors under the Bankruptcy Code or under non-bankruptcy law,

                                        3   including, without limitation, the right to propose a chapter 11 plan or plans; or (c) any other rights,

                                        4   claims or privileges (whether legal, equitable or otherwise) of the Borrowing Debtors.

                                        5            19.       No Waiver. The failure of the Pre-Petition Lender to seek relief or otherwise exercise

                                        6   their rights and remedies under this Final Order, the Pre-Petition Loan Documents, or otherwise, as

                                        7   applicable, shall not constitute a waiver of any of the Pre-Petition Lender’s rights hereunder,

                                        8   thereunder, or otherwise. Except as expressly provided herein, the entry of this Final Order is without

                                        9   prejudice to, and does not constitute a waiver of, expressly or implicitly, or otherwise impair any of

                                       10   the rights, claims, privileges, objections, defenses or remedies of the Pre-Petition Lender under the

                                       11   Bankruptcy Code or under non-bankruptcy law against any other person or entity in any court. Except
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                                       12   to the extent otherwise expressly provided in this Final Order or by law, neither the commencement
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                                       13   of the Chapter 11 Cases nor the entry of this Final Order shall limit or otherwise modify the rights

                                       14   and remedies of the Pre-Petition Lender with respect to any affiliated non-Borrowing Debtor entities

                                       15   or their respective assets, whether such rights and remedies arise under the Pre-Petition Loan

                                       16   Documents, applicable law, or equity.

                                       17            20.       Right to Credit Bid. The Pre-Petition Lender’s credit bid rights under section 363(k)

                                       18   under any auction/sale and under any plan of reorganization shall be preserved and not be impaired
                                       19   or limited by Court order in the event of a sale of all or any of the Pre-Petition Collateral or collateral

                                       20   secured by any liens granted in this Final Order.

                                       21            21.       Limitation on Charging Expenses against Collateral.        No costs or expenses of

                                       22   administration of the Chapter 11 Cases incurred or shall be charged against or recovered from the Pre-

                                       23   Petition Lender, or any of its respective claims, or the Pre-Petition Collateral, as the case may be,

                                       24   pursuant to section 506(c) of the Bankruptcy Code or any similar principle of law, without the prior

                                       25   written consent of the Pre-Petition Lender, and no such consent shall be implied from any other action

                                       26   or inaction by the Pre-Petition Lender.
                                       27            22.       Limitations under Section 552(b) of the Bankruptcy Code. Subject to the entry of the

                                       28   this Final Order for any Adequate Protection Obligations, the Pre-Petition Lender shall be entitled to
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                                            Active\112812251
                                            Case 20-12814-mkn            Doc 603
                                                                             601     Entered 07/31/20 13:53:33
                                                                                                      12:13:08       Page 17
                                                                                                                          15 of 29
                                                                                                                                24




                                        1   all of the rights and benefits of section 552(b) of the Bankruptcy Code, and the “equities of the case”

                                        2   exception under section 552(b) of the Bankruptcy Code shall not apply to the Pre-Petition Lender with

                                        3   respect to (a) proceeds, products, or offspring of any of the Pre-Petition Collateral or (b) the extension

                                        4   of the Adequate Protection Liens to the proceeds, products or offspring of the Prepetition Collateral.

                                        5            23.       Borrowing Debtors shall be authorized to use the Pre-Petition Lender’s Cash Collateral

                                        6   through the earliest of (a) August 30, 2020 , or as otherwise agreed to in writing by Borrowing Debtors

                                        7   and the Pre-Petition Lender (for which no Court approval will be required), (b) the date any chapter

                                        8   11 plan confirmed in the Chapter 11 Cases becomes effective, or (c) the occurrence of an Event of

                                        9   Default (as hereinafter defined) that is no longer subject to cure (each, a “Termination Date”).

                                       10            24.       Events of Default. Upon written notice from the Pre-Petition Lender, any of the

                                       11   following shall be an event of default (each an “Event of Default”): (i) appointment of a chapter 11
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                                       12   trustee with respect to the Chapter 11 Cases; (ii) appointment of an examiner with expanded powers
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                                       13   with respect to the Chapter 11 Cases; (iii) conversion of the Chapter 11 Cases to a case under chapter

                                       14   7 of the Bankruptcy Code; (iv) dismissal of the Chapter 11 Cases; (v) the Bankruptcy Court

                                       15   terminating the Borrowing Debtors’ authority to operate their businesses; (vi) Debtors’ failure to be

                                       16   in and operate within strict compliance with the Approved Budget in accordance with Section 4 of

                                       17   this Final Order, (vii) Any use of Pre-Petition Lender’s Cash Collateral to make a payment that is not

                                       18   in strict compliance with the Approved Budget in accordance with Section 4 of this Final Order to or
                                       19   for the benefit of affiliated non-Borrowing Debtor or its creditors; (viii) Borrowing Debtors’ failure

                                       20   to (a) instruct all Account Debtors to forward all payments of Receivables by check to the Lockbox

                                       21   and instruct all Account Debtors paying Receivables by wire transfer or other electronic payment to

                                       22   make such payments to the “Blocked Account” (as those terms are defined in the Loan Agreement),

                                       23   (b) deliver all proceeds of Pre-Petition Collateral, including cash, checks, drafts, notes, acceptances

                                       24   or other forms of payment, and whether Proceeds of Receivables, Inventory, insurance claims or other

                                       25   otherwise, in Borrowing Debtors’ possession to the Blocked Account immediately after receipt, in

                                       26   precisely the form received (except for the endorsement or assignment of Borrower where necessary)
                                       27   (as those terms are defined in the Loan Agreement), or (c) cause Persons processing or collecting any

                                       28   credit card payments or Proceeds of Receivables on behalf of Borrowing Debtors’ to deliver such
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                                            Active\112812251
                                            Case 20-12814-mkn           Doc 603
                                                                            601    Entered 07/31/20 13:53:33
                                                                                                    12:13:08        Page 18
                                                                                                                         16 of 29
                                                                                                                               24




                                        1   payments or Proceeds to the Blocked Account promptly, but not less frequently than once every week,

                                        2   as required by Section 2.6 of the Loan Agreement, or (ix) breach by any of the Borrowing Debtors of

                                        3   any other stipulation, agreement or provision of this Final Order, and, with respect only to

                                        4   subparagraphs (vi) through (ix) of this Section 23, such breach remains uncured for a period of two

                                        5   (2) Business Days after written notice of such default has been provided by electronic mail (or other

                                        6   electronic means) to counsel to the Borrowing Debtors, counsel to a Committee (if appointed), and

                                        7   the U.S. Trustee.

                                        8            25.       Rights and Remedies Upon Event of Default. Immediately upon the occurrence and

                                        9   during the continuation of an Event of Default, notwithstanding the provisions of section 362 of the

                                       10   Bankruptcy Code, without any application, motion or notice to, hearing before, or order from the

                                       11   Court, but subject to the terms of this Final Order, the Pre-Petition Lender may declare (any such
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                                       12   declaration shall be referred to herein as a “Termination Declaration”) a termination, reduction or
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                                            restriction on the ability of the Borrowing Debtors to use the Pre-Petition Lender’s Cash Collateral
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                                       14   The Termination Declaration shall not be effective until notice has been provided by electronic mail

                                       15   (or other electronic means) to counsel to the Borrowing Debtors, counsel to a Committee (if

                                       16   appointed), and the U.S. Trustee. The automatic stay in the Chapter 11 Cases otherwise applicable to

                                       17   the Pre-Petition Lender is hereby modified so that two (2) Business Days after the date a Termination

                                       18   Declaration is delivered (the “Remedies Notice Period”) the Pre-Petition Lender shall be entitled to
                                       19   exercise its rights and remedies to the extent available in accordance with the Pre-Petition Loan

                                       20   Documents and this Final Order with respect to the Borrowing Debtors’ use of the Pre-Petition

                                       21   Lender’s Cash Collateral.       During the Remedies Notice Period, the Borrowing Debtors, the

                                       22   Committee (if appointed) and/or any party in interest shall be entitled to seek an emergency hearing

                                       23   within the Remedies Notice Period with the Court for the sole purpose of contesting whether an Event

                                       24   of Default has occurred or is continuing. Except as otherwise ordered by the Court prior to the

                                       25   expiration of the Remedies Notice Period, after the Remedies Notice Period, the Borrowing Debtors

                                       26   shall waive their right to and shall not be entitled to seek relief, including, without limitation, under
                                       27   section 105 of the Bankruptcy Code, to the extent such relief would in any way impair or restrict the

                                       28   rights and remedies of the Pre-Petition Lender under this Final Order. Unless the Court has
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                                            Active\112812251
                                            Case 20-12814-mkn            Doc 603
                                                                             601     Entered 07/31/20 13:53:33
                                                                                                      12:13:08      Page 19
                                                                                                                         17 of 29
                                                                                                                               24




                                        1   determined that an Event of Default has not occurred and/or is not continuing or the Court orders

                                        2   otherwise, the automatic stay, as to the Pre-Petition Lender (solely with respect to the use of the Pre-

                                        3   Petition Lender’s Cash Collateral to the extent permitted hereunder) shall automatically be terminated

                                        4   at the end of the Remedies Notice Period without further notice or order. Upon expiration of the

                                        5   Remedies Notice Period, the Pre-Petition Lender shall be permitted to exercise all remedies set forth

                                        6   herein, and as otherwise available at law without further order of or application or motion to this Court

                                        7   consistent with this Final Order; provided, that the Pre-Petition Lender shall be permitted to exercise

                                        8   remedies to the extent available solely with respect to the Borrowing Debtors’ use of the Pre-Petition

                                        9   Lender’s Cash Collateral.

                                       10            26.       The Pre-Petition Collateral, including, without limitation, the Adequate Protection

                                       11   Liens and the Adequate Protection Claims, shall be subject to a carve-out (the “Carve-Out”), for (i)
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                                       12   all fees required to be paid to the Clerk of the Bankruptcy Court and to the Office of the United States
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                                       13   Trustee pursuant to 28 § U.S.C. 1930, and (ii) only to the extent the amounts are not available under

                                       14   the Approved Budget from other property of the estate that is not avail, an amount not exceeding

                                       15   Three Hundred Thousand Dollars ($300,000) in the aggregate, which amount may be used after the

                                       16   occurrence and during the continuation of an Event of Default, to pay the fees and expenses of

                                       17   professionals retained by Borrowing Debtors and any Committee and allowed (or allowable) by the

                                       18   Bankruptcy Court; provided, however, that (x) Borrowing Debtors shall be permitted to pay
                                       19   compensation and reimbursement of expenses allowed, allowable or otherwise authorized by the

                                       20   Bankruptcy Court and payable under Bankruptcy Code sections 330 and 331 in accordance with the

                                       21   Approved Budget; and (y) the Carve-Out shall not be reduced by the amount of any compensation

                                       22   and reimbursement of expenses paid or incurred (to the extent ultimately allowed or allowable by the

                                       23   Bankruptcy Court) prior to the occurrence of an Event of Default in respect of which the Carve-Out

                                       24   is invoked; and provided, further, that nothing herein shall be construed to impair the ability of the

                                       25   Pre-Petition Lender to object to the reasonableness of any of the fees, expenses, reimbursement or

                                       26   compensation sought by the professionals retained by Borrowing Debtors or any statutory committee.
                                       27            27.       The Pre-Petition Lender shall not be required to file or serve financing statements,

                                       28   notices of lien or similar instruments that otherwise may be required under federal or state law in any
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                                            Case 20-12814-mkn            Doc 603
                                                                             601      Entered 07/31/20 13:53:33
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                                                                                                                            18 of 29
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                                        1   jurisdiction, or take any action, including taking possession, to validate and perfect the replacement

                                        2   liens; and the failure by Borrowing Debtors to execute any documentation relating to the replacement

                                        3   liens shall in no way affect the validity, perfection or priority of such replacement liens.

                                        4             28.      Notwithstanding an Event of Default, any amounts that have been disbursed in

                                        5   accordance with the Approved Budget shall not be subject to disgorgement in favor of the Pre-Petition

                                        6   Lender.

                                        7             29.      The Borrowing Debtors shall use its commercially reasonable best efforts to cause the

                                        8   owner-builders       (customers) to      pay directly for the Borrowing Debtors’ post-petition

                                        9   materials/supplies purchased during the Final Period, with such written reporting as the Pre-Petition

                                       10   Lender may request, and if a supplier or owner builder is unwilling to directly pay or accept or finance

                                       11   such direct purchase for such post-petition materials/supplies, then the Borrowing Debtors and the
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                                       12   Pre-Petition Lender will negotiate with the Borrowing Debtors to put a joint check process in place
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                                       13   with such Borrowing Debtors’ suppliers to provide post-petition acquisitions on terms agreed to by

                                       14   the Borrowing Debtors and the Pre-Petition Lender or if necessary, as determined by the Court after

                                       15   notice and a hearing.

                                       16             30.      All rights of the Director as of the Petition Date are hereby reserved.

                                       17             31.      31.    No term in this Final Order shall be deemed to have changed or modified those

                                       18   liens of LEAF Capital Funding, LLC as to certain licenses for enterprise software from Microsoft
                                       19   described by Microsoft Part Numbers (a) 7R7-00002, Quantity of 60, (b) AAA-10758, Quantity of

                                       20   454, (c) T6A-00024, Quantity of 90 and (d) AAA-10842, Quantity of 360, including all parts,

                                       21   accessories, accessions and attachments thereto, and all replacements, substitutions and exchanges

                                       22   (including trade-ins) (collectively the “LEAF Collateral”), to the extent those liens and setoff rights

                                       23   are valid, enforceable, non-avoidable and perfected, including as permitted by section 546(b) of the

                                       24   Bankruptcy Code, all of which are expressly reserved. Nothing contained in this Final Order shall

                                       25   operate to prime LEAF’s liens on the LEAF Collateral or alter the priority of LEAF’s liens on the

                                       26   LEAF Collateral. LEAF’s rights to seek adequate protection and related relief in the future are
                                       27   reserved. No term in this Final Order shall be deemed a waiver of the claims of Silfab, Durable,OES

                                       28   or IES, as they existed as of the Petition Date, for reclamation of goods under Uniform Commercial
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                                            Case 20-12814-mkn            Doc 603
                                                                             601      Entered 07/31/20 13:53:33
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                                                                                                                            19 of 29
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                                        1   Code section 2-702, to the extent those claims are valid, enforceable, non-avoidable and perfected,

                                        2   including as permitted by section 546(b) of the Bankruptcy Code, all of which claims are expressly

                                        3   reserved.

                                        4            32.       Vendors’ Reservation of Right. Nothing in this Final Order shall prejudice the rights

                                        5   of Borrowing Debtors’ vendors to assert that funds payable on Borrowing Debtors’ projects are not

                                        6   property of Borrowing Debtors’ estates pursuant to applicable non-bankruptcy law.

                                        7            33.       Nothing in this Final Order shall prejudice the rights of Borrowing Debtors’ creditors

                                        8   who properly asserted their reclamation rights under section 546(c) of the Bankruptcy Code.

                                        9            34.       Survival. The Pre-Petition Lender’s rights and remedies under this Final Order shall

                                       10   survive the Termination Date.

                                       11            35.       To the extent applicable, this Final Order is not subject to the 14-day stay provision of
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                                       12   Bankruptcy Rules 4001(a)(3) or 6003.
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                                       13   DATED: July 31, 2020
                                       14
                                            Prepared and respectfully submitted by:
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                                            By: /s/ Brett A. Axelrod ________________
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                                            APPROVED/DISAPPROVED:
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                                        5   By        /s/Edward M. McDonald, Jr.
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                                                   Inc., dba ABS Supply Co., Inc.
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                                        2   APPROVED/DISAPPROVED:

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                                        1
                                                       CERTIFICATION OF COUNSEL PURSUANT TO LOCAL RULE 9021
                                        2       In accordance with Local Rule 9021, counsel submitting this document certifies as follows:
                                        3                      The Court has waived the requirement of approval in LR 9021(b)(1).

                                        4                      No party appeared at the hearing or filed an objection to the motion
                                        5

                                        6                      I have delivered a copy of this proposed order to all counsel who appeared
                                                               at the hearing, any unrepresented parties who appeared at the hearing, and
                                        7                      each has approved or disapproved the order, or failed to respond, as
                                                               indicated below:
                                        8
                                                                  Edward M. McDonald, Jr.                 Approved / Disapproved
                                        9                         Trial Attorney
                                                                  Office of the United States Trustee
                                       10
                                                                  Cathrine M. Castaldi, Esq.              Approved / Disapproved
                                       11                         Max D. Schlan, Esq.
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                                                                  Committee of Unsecured Creditors
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                                                                  William M. Noall, Esq.                  Approved / Disapproved
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                                                                  Counsel for ACF FinCo I LP
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                                                                  Monique D. Jewett-Brewster, Esq.
                                       20                         HOPKINS & CARLEY
                                                                  Counsel for Independent Electric
                                       21                         Supply and One Source Distributors,
                                                                  LLC
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                                       23                         Louis J. Cisz, III, Esq.              Approved / Disapproved
                                                                  NIXON PEABODY LLP
                                       24                         Counsel for California Self-Insurers’
                                                                  Security Fund
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                                                                  Steven N. Kurtz, Esq                    Approved / Disapproved
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                                       27                         LEVINSON ARSHONSKY &
                                                                  KURTZ, LLP
                                       28                         Counsel for LS DE LLC and LSQ
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                                                                  Funding Group, LC
                                        1

                                        2                         Matthew C. Zirzow, Esq.                  Approved / Disapproved
                                                                  LARSON & ZIRZOW
                                        3                         Counsel for American Builders &
                                                                  Contractors Supply Co., Inc., dba
                                        4                         ABS Supply Co., Inc.
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                                                                  Stephen A. Metz, Esq.
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                                        7                         Acquisition, Inc.

                                        8                         James Patrick Shea, Esq.                 Approved / Disapproved
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                                                                   Amanda M. Perach, Esq.                    Approved / Disapproved
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                                                               I certify that this is a case under Chapter 7 or 13, that I have served a
          (702) 262-6899




                                       13
                                                               copy of this order with the motion pursuant to LR 9014(g), and that no
                                       14                      party has objected to the form or content of the order.
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       g-31W5z/35412c5,W-{                                         5555555555555;5:? 55555555555555555s5 55555555555555555s5 55555555555555555s5 55555555555555555s5 55555555555555555s5 55555555555555X>9Y555555555555555>9 55555555555555555s5 55555555555555555s5 555555555555X8A@Y555555555555585A@ 55555555555555555s5         5555555555555;5:?
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8}~5m--75012c5q1W1C0/252eq/0353-5j13/.E1W50c1CF/5125C/{5ECn-.j13E-C51CDG-.5100/2253-5q1C75100-eC325q/0-j/51r1EW1qW/
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9}~503e1W51j-eC325f/.54-jf1CV5q--7251CD5./0-.D25125-n5>}8>}9A}55DDE3E-C1WWVZ53c/./5E25158<`51De23j/C35q/ECF50-C3/jfW13/D53-5./De0/5Gk5qV50-C2ej/.51CD5eC0-WW/03EqW/51j-eC32
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;}~5k/23.e03e.ECF5n//251CD5/tf/C2/251CD5D/ie13/5U.-3/03E-C5U1Vj/C3251./5C-35EC0WeD/D5EC53c/5D.1n358:s{//75n-./01235f/.E-D}55gc/5/q3-.25./23.e03e.ECF5f.-n/22E-C1W25c1r/52eqjE33/D5f.-/03E-C25n-.52e0c5n//25
       1CD53c/2/5{EWW5q/5nEC1WE/D5fe.2e1C353-5C/F-3E13E-C5{E3c53c/5lU5p/CD/.Z5d/0e./D5U1.3VZ51CD5-3c/.5f.-n/22E-C1W25EC53c/5012/5f.E-.53-53c/5nEC1W5c/1.ECF53-51ff.-r/53c/5lU5nEC1C0ECF
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       P/FECCECF5QGR5P1S1C0/                                       555555555;>T@89 555555555;?T89@ 555555555;>T@:8 555555555;?T<A8 555555555;@T==< 555555555<8T9?@ 555555555<8T>?> 555555555<9T899 555555555<9T<=A 555555555<:TA>; 555555555<9T>?8 555555555<9T@:> 555555555<9T?AA                                                  555555555;>T@89
       UV/35PESSECF2                                               555555555558T<8= 555555555558T>@< 555555555559T:>< 555555555559T>@; 55555555555:TA?? 55555555555:TA?? 55555555555:T:?9 55555555555:T:?9 55555555555:T=>= 55555555555:T=>= 55555555555;T9AA 55555555555;T9AA 55555555555;T9AA                                     555555555;8T:><
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       {C/SEFE|S/5QGR5W5QF/D                                       55555555X8:T:9>Y55555555X8:T9<;Y55555555X8AT?<=Y55555555X88T9A<Y55555555X88T=@9Y55555555X88T?;8Y555555555X5>T@=8Y555555555X5?TA;@Y555555555X5?T8<9Y555555555X5?TA@:Y555555555X5?T89;Y555555555X5?TA@>Y55555555X8AT?@;Y                                           55555555X8AT?@;Y
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85P--750125|1S1C0/252}|/0353-5~13/.E1S501CF/5125C/5EC-.~13E-C51CDG-.5100/2253-5|1C75100-}C325|/0-~/511ES1|S/
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95Q03}1S51~-}C325/.54-~1C5|--7251CD5./0-.D25125-5>8>9A55QDDE3E-C1SST53/./5E25158<51D}23~/C35|/ECF50-C3/~S13/D53-5./D}0/5QGR5|50-C2}~/.51CD5}C0-SS/03E|S/51~-}C32
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;5R/23.}03}.ECF5//251CD5//C2/251CD5QD/}13/5.-3/03E-C51~/C3251./5C-35EC0S}D/D5EC53/5D.1358:W//75-./01235/.E-D55/5/|3-.25./23.}03}.ECF5.-/22E-C1S251/52}|~E33/D5.-/03E-C25-.52}05//25
       1CD53/2/5ESS5|/5EC1SE/D5}.2}1C353-5C/F-3E13E-C5E353/5{5/CD/.T5/0}./D51.3T51CD5-3/.5.-/22E-C1S25EC53/5012/5.E-.53-53/5EC1S5/1.ECF53-51.-/53/5{5EC1C0ECF
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                                                                                                                                                                                                                                                                                                                                                                                                                    Page
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                                                                                                                                                                                                                                                                                                                                                                                                                        53ofof29
